      Case 3:20-cv-00070-DHB-BKE Document 7 Filed 10/19/20 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                  DUBLIN DIVISION

SHERWIN PERKINS,                        )
                                        )
            Plaintiff,                  )
                                        )
      v.                                )              CV 320-065
                                        )              CV 320-070
ANTONIO CALDWELL, Warden;               )
JAMES BLAIR, Deputy Warden;             )
FAIRVIEW PARK HOSPITAL;                 )
KENNETH COWENS; BILLY                   )
McKENZIE, Inmate; JAMES MITCHEL,        )
Inmate; UNIT MANAGER GIBBONS;           )
PA OLIVER; HALL, Director of Nursing;   )
LATISHA FRANKLIN, Deputy Warden;        )
TIMOTHY C. WARD, Commissioner;          )
MEDICAL COLLEGE of GEORGIA;             )
UNIT MANAGER JACKSON; JOHNSON; )
MESSER, Deputy Warden; CHIEF            )
COUNSELER BRAGG; and ALRFRED            )
LUNDY, Inmate,                          )
                                        )
            Defendants.1                )
                                   _________

                                       ORDER
                                       _________

      On September 3, 2020, Plaintiff Sherwin Perkins, an inmate at Johnson State Prison

(“JSP”) in Wrightsville, Georgia filed a complaint pursuant to 42 U.S.C. § 1983 in the

Middle District of Georgia. On September 22, 2020, United States District Judge Marc

Thomas Treadwell transferred the case. Perkins v. Caldwell, CV 320-065 (S.D. Ga. Sept. 22,


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         The Court DIRECTS the CLERK to update the docket in accordance with the caption
of this Order, which is consistent with the complaint. (Doc. no. 1, pp. 3, 19-23.)
       Case 3:20-cv-00070-DHB-BKE Document 7 Filed 10/19/20 Page 2 of 2



2020). The complaint, along with a thirty-four page attachment, alleges physical abuse,

failure to prosecute, deliberate denial of medical treatment, denial of outdoor access, and

other constitutional violations. (Id. at 36-70.)

       On October 14, 2020, Judge Treadwell transferred another case filed by Plaintiff, i.e.

Perkins v. Caldwell, CV 320-070 (S.D. Ga. Oct. 14, 2020). The complaints in both civil

actions were signed by Plaintiff on August 12, 2020, were mailed in the same envelope, and

assert the same claims and grounds for relief. Cf. Perkins v. Caldwell, CV 320-065, doc. no.

1, pp. 4, 5, 71, (S.D. Ga. Sept. 22) with Perkins v. Caldwell, CV 320-070, doc. no. 1, pp. 4,

5, 35, (S.D. Ga. Oct. 14). The only discernable difference is Plaintiff’s attachment to the

complaint does not appear in CV 320-070. Because the cases are obvious duplicates, the

Court DIRECTS the CLERK to CLOSE CV 320-070. Plaintiff shall not be responsible for a

second filing fee. Nor shall the second case be counted against Plaintiff as a strike under 28

U.S.C. § 1915(g). Plaintiff’s claims shall proceed in CV 320-065, subject to the standard

frivolity review under 28 U.S.C. § 1915A, in CV 320-065.

       SO ORDERED this 19th day of October, 2020, at Augusta, Georgia.




                                                   2
